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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                   LOUISVILLE DIVISION
                              CIVIL ACTION NO.: 3:17-cv-00578
                                      Electronically Filed

________________________________________
K.R.M., A.B.W., M.L.K., J.H.D., M.A.M.   )
K.M.C., M.A.E.M., and A.M.H.             )
                                         )
Plaintiffs,                              )
vs.                                      )
                                         )
LARUE COUNTY SCHOOL DISTRICT,            )
                                         )
and                                      )
                                         )
STEPHEN KYLE GOODLETT,                   )
                                         )
                          Defendants     )
________________________________________ )


           PLAINTIFFS’ REPLY TO RESPONSE OF DEFENDANT, LARUE
            COUNTY SCHOOL DISTRICT, TO MOTION TO PROCEED
                              ANONYMOUSLY

        Come the Plaintiffs, K.R.M., A.B.W., M.L.K., M.A.M., K.M.C., M.A.E.M. and

A.M.H., by counsel, and file this as their Reply to the Response of the Defendant, Larue

County School District (“School District”) to their Motion to Proceed Anonymously.

        Misrepresenting the scope of the request for anonymity requested by the Plaintiffs,

showing no prejudice that the Plaintiffs’ Motion would cause to it, and obviously seeking to

further embarrass the victims of its own school official, the School District callously objects to

a most basic effort by the Plaintiffs to minimize further victimization. The School District

incorrectly states that the only privacy interest involved here is keeping the actual images of

the Plaintiffs, all taken while they were minors, from further public view. To the contrary,

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each of the Plaintiffs are the victims of a child pornography scheme perpetrated by one of the

School District’s own officials. While the Plaintiffs’ decisions to take inappropriate

photographs of themselves during their minority were significant indiscretions, they pale in

the seriousness of the conduct of the School District’s official. To the extent that the relief

requested by the Plaintiffs does not cause actual prejudice to the School District, these victims

should be permitted to proceed without being identified to the public as victims of child

pornography.

        The School District expresses concern that by granting the Plaintiffs’ Motion to

Proceed Anonymously, it will be unable to take “full discovery” and thus be “handcuffed.”

However, in the Plaintiffs’ proposed Order granting them leave to proceed anonymously (Doc.

#5-1), they request only that their initials, rather than their actual names, be utilized in all

further filings with the Court. The Plaintiffs have not requested, and do not expect, any

limitations in the School District’s discovery. Thus, the School District’s defense clearly will

not be prejudiced.

        With the inability to show it will suffer any prejudice by granting the Plaintiffs’ request,

the School District resorts First Amendment concerns, relying on Richmond Newspapers, Inc.

v. Virginia, 448 U.S. 555, 100 S.Ct. 2814, 65 L.Ed.2d 973 (1980). However, while discussing

the implications of the First Amendment upon Court proceedings, the facts there are clearly

distinguishable from the case at bar. Richmond Newspapers, Inc. v. Virginia involved a trial

court’s Order closing a murder trial, to the exclusion of press and the public. Obviously, the

public’s interest in a trial proceeding of such magnitude is more consequential than shielding

the identities of victims of child pornography from the public during pre-trial proceedings in a

civil case.

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        As disclosure that each of the Plaintiffs is a child pornography victim rises to the level

of “utmost intimacy,” and the School District cannot show prejudice, the Plaintiffs respectfully

request that their Motion to proceed anonymously, by requiring that references to them in the

public record of this proceeding be limited to their initials, be granted.

                                               Respectfully Submitted,


                                               /s/ Joseph H. Mattingly III
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                                       CERTIFICATION

        The undersigned does hereby certify that the foregoing Reply to Response of
Defendant, LaRue County School District, to Motion to Proceed Anonymously, was
electronically filed with the Clerk of the Court by using the CM/ECF system, which will send
a notice of electronic filing to all CM/ECF participants. A true and correct copy thereof was
also served upon the following by placing same in the United States First Class Mail, postage
prepaid, to:

                                         Stephen Kyle Goodlett
                                            317 Bent Creek
                                    Elizabethtown, Kentucky 42701


                                               By:    /s/ Joseph H. Mattingly III
                                                       JOSEPH H. MATTINGLY III


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